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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


PEN AMERICAN CENTER, INC., et
al.,

    Plaintiffs,

                  v.                 Case No.: 3:23-cv-10385-TKW-ZCB

ESCAMBIA COUNTY SCHOOL
BOARD,

    Defendant.



 BRIEF OF AMICI CURIAE FLORIDA STATE CONFERENCE OF THE
 NAACP AND EQUALITY FLORIDA ACTION, INC. IN SUPPORT OF
                        PLAINTIFFS
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                  CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel for

the Florida State Conference of the National Association for the Advancement of

Colored People (“Florida NAACP”) and Equality Florida Action, Inc. (“Equality

Florida”) certify that:

          1. Florida NAACP and Equality Florida, respectively, have no parent

             corporation.

          2. No corporations hold stock in Florida NAACP or Equality Florida.




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                          STATEMENT OF INTEREST

      The Florida State Conference of the National Association for the

Advancement of Colored People (“Florida NAACP”) and Equality Florida Action,

Inc. (“Equality Florida”) (collectively, “Amici”) submit this brief in support of PEN

American Center, Inc. (“PEN America”), select book authors, Penguin Random

House LLC, and a number of parents of students attending public schools in

Escambia County (collectively, “Plaintiffs”).          The Amici share an interest in

ensuring that students attending public schools in Florida and their parents are not

discriminated against on the basis of race, gender, or sexual orientation by the

decisions of Defendant Escambia County School Board (the “School Board”) to

deny students access to information and ideas in books by or about people of color

and/or lesbian, gay, bisexual, transgender, and queer (“LGBTQ”) people. Amici

also share an interest in protecting the right of students in Escambia County and

Florida to read books by diverse authors and to access books with diverse characters,

content, and ideas in their public school libraries.

      Florida NAACP is a nonprofit, nonpartisan civil rights organization located

in Florida. Founded in 1909, Florida NAACP is the oldest civil rights organization

in Florida, and serves as the umbrella organization for local branch units throughout

the state. Florida NAACP’s 12,000 members are predominately Black and other

minority persons based in Florida. Its mission is to ensure the political, social,
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educational, and economic equality of all persons and to eliminate race-based

discrimination.

      Equality Florida is a civil rights organization whose mission is to secure full

equality for Florida’s LGBTQ community. Through grassroots organizing and

public education, Equality Florida is working to end LGBTQ discrimination,

accelerate acceptance of all Floridians, make schools safe for LGBTQ students, and

move equality forward.




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                                 INTRODUCTION

      Across literature, “coming-of-age” novels narrate the stories of protagonists

as they transition from adolescence to adulthood, allowing readers to follow

characters that reflect themselves or others in their lives. This “mirroring” effect

“make[s] connections with students’ daily experiences” and is an essential aspect of

the educational experience. 1 Wider access to literature that includes characters that

mirror students demographically, culturally, and experientially leads to increased

student engagement. 2

      Diversity in literature also has social benefits. It is not limited to allowing

students of different races, ethnicities, sexual orientation, gender, or societal groups

to read about characters that bear similarities to their own experience. Access to

content about marginalized groups, including LGBTQ and racial minorities, also

inures to the benefit of all students where it “builds students’ accurate knowledge of

diverse people and their awareness of different perspectives, and uses their existing

knowledge and experiences as bridges to new content.” 3




1
   Amanda LaTasha Armstrong, The Representation of Social Groups in U. S.
Educational Materials and Why it Matters: A Research Overview 6, New America
(Dec. 1, 2021), https://www.newamerica.org/education-policy/reports/the-
representation-of-social-groups-in-u-s-educational-materials-and-why-it-
matter/what-is-the-role-of-materials-in-culturally-responsive-education.
2
  Id. at 8.
3
  Id. at 6.

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      Traditional public school curricula, which predominantly feature perspectives

of white authors or characters, deny the benefits of inclusive literature to almost 40%

of students. 4 Moreover, a “2020 study of award-winning books revealed 97 percent

of them included male and female characters and no instances of nonbinary

representation.” 5 Public school libraries, however, provide what standard syllabi do

not—choice. Underrepresented students can use school libraries as a convenient

source to access literature of their choosing, particularly for “socioeconomically

disadvantaged children, including children of color, [who] are less likely to have

books in the home or read at home.” 6

      Indeed, the law has long recognized school libraries as an essential vehicle by

which students can exalt their constitutional right to access information. Where the

First Amendment both “foster[s] individual self-expression but also . . . afford[s]

the public access to discussion, debate, and the dissemination of information and

ideas,” First National Bank of Boston v. Bellotti, 435 U.S. 765, 783 (1978), public

schools, and the libraries within them, are “vitally important ‘in the preparation of

4
   Id. “In a 2019 study, the Cooperative Children’s Book Center examined the
frequency of children’s books by and about BIPOCs published in the United States.
They found that of the 3,717 books they received from U.S. publishers, 451 (12
percent) were about Black people or those of African descent; 328 (8.8 percent) were
about Asians; 5 (0.13 percent) were about Pacific Islanders; 235 (6.3 percent) were
about Latinx individuals; 43 (1.2 percent) were about Indigenous people; and 32
(0.86 percent) were about Arabs.” Id. at 12.
5
  Id. at 15.
6
       U.S.    Dep’t     of    Educ.,     Access      to     Reading      Materials,
https://www2.ed.gov/datastory/bookaccess/index.html.

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individuals for participation as citizens,’ and as vehicles for ‘inculcating

fundamental values necessary to the maintenance of a democratic political system.’”

Bd. of Educ., Island Trees Union Free Sch. Dist. No. 26 v. Pico, 457 U.S. 853, 864

(1982) (quoting Ambach v. Norwick, 441 U.S. 68, 76–77 (1979)).

      Despite this longstanding recognition of the import of the right to access

information and ideas, students’ ability to access inclusive literature critical to their

self-expression and social development is under siege across the United States. In

2022, 2,571 unique titles—the “vast majority . . . written by or about members of the

LGBTQIA+ community and people of color”—were targeted for censorship, which

is a 38% increase from the previous year. 7 Of reported book challenges, 58%

targeted books in school libraries. 8

      In Escambia County, Florida, students’ Free Speech rights have been, and are

at imminent risk of being, deprived; and the removal of books discussing race,

racism, and LGBTQ identities likewise denies students in protected groups Equal

Protection under the laws. During the 2022−2023 school year, officials in Escambia

County removed 10 books and restricted access to over 150 more. 9 Rather than


7
   Raymond Garcia, American Library Association Reports Record Number of
Demands to Censor Library Books and Materials in 2022, ALA News (March 22,
2023), https://www.ala.org/news/press-releases/2023/03/record-book-bans-2022.
8
  Id.
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  Becky Sullivan & Neda Ulaby, Penguin Random House and 5 Authors are Suing
a Florida School Board Over Book Bans, NPR (March 18, 2023),
https://www.npr.org/2023/05/18/1176879171/florida-book-ban-lawsuit.

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allowing students and parents to continue to choose what books to read or not read,

Escambia County instead seeks to intentionally and arbitrarily limit the ability of all

students, including Black and LGBTQ students, to access books by Black and

LGBTQ authors and with content and characters reflecting diverse backgrounds.

      Plaintiffs allege that Defendant’s book removals and restrictions violate the

First and Fourteenth Amendments. PEN America, Penguin Random House, and the

author plaintiffs allege that Defendant is systematically excluding viewpoints from

school libraries, in violation of the First Amendment. The parent plaintiffs claim

that Defendant’s practices unconstitutionally limit the types of books that their

children can access, in violation of their right to receive information under the First

Amendment. PEN America and the author and parent plaintiffs assert claims under

the Equal Protection Clause of the Fourteenth Amendment, alleging that Defendant

has discriminated against them based on race or LGBTQ status by disproportionately

limiting their access to books by or about Black or LGBTQ persons.

      Amici write in support of Plaintiffs to describe the harms that result from

sharply curtailed access to books that explore themes relating to race, racism, and

LGBTQ identities. With this brief, amici submit statements by three individuals

with family affected by book removals and restrictions across the State of Florida.

Their stories demonstrate why Black and LGBTQ students and their families are

harmed by the suppression of race and LGBTQ-related books.



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                                    ARGUMENT

I.     BOOK REMOVALS AND RESTRICTIONS DENY STUDENTS
       ACCESS TO PERSPECTIVES ABOUT RACE, RACISM, AND
       LGBTQ IDENTITIES.

       The Supreme Court has long held that the First Amendment protects not

only the right to speak but also “the right to receive information and ideas.”

Stanley v. Georgia, 394 U.S. 557, 564 (1969); see Pico, 457 U.S. at 867 (plurality

opinion) (recognizing the right to receive information as an “inherent corollary of

the rights of free speech and press that are explicitly guaranteed by the Constitution

. . . ”). The Supreme Court has also recognized the school library as “the principal

locus of such freedom,” because it is where students “can literally explore the

unknown, and discover areas of interest and thought not covered by the prescribed

curriculum.” Id. at 868−69 (internal quotation marks and citation omitted).

       The ability to engage with books, history, and ideas in a school library

prepares children for “active and effective participation in the pluralistic, often

contentious society in which they will soon be adult members.” Id. at 868; cf.

Keyishian v. Bd. of Regents of Univ. of State of N. Y., 385 U.S. 589, 603 (1967)

(students can be prepared for participation in democratic society only if they are

“trained through wide exposure to that robust exchange of ideas which discovers

truth ‘out of a multitude of tongues, (rather) than through any kind of authoritative




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selection.’” (quoting United States v. Associated Press, 52 F. Supp. 362, 372

(S.D.N.Y. 1943))).

      Defendant’s actions in Escambia County—and similar practices occurring in

other school districts across Florida—are denying students that training. Indeed, as

the statements by Raquel Wright, Vivian Green, and Jennifer Cousins illustrate,

students and their families are being denied access to stories involving race,

gender, and sexual orientation. These stories are critical to students’ education and

their participation in society. Their stories are vivid examples of the harmful

effects of Florida’s campaign to remove and restrict books on Black and LGBTQ

students and their families.

      Raquel Wright, a former elementary and middle school teacher in Florida,

described the profound impact that certain books have had on her niece’s growth.

Toni Morrison’s The Bluest Eye is one of the books that Defendant has removed

from school libraries in Escambia County. See Am. Compl. at ¶¶ 105, 127−31.

Yet Wright’s niece’s experience reading the novel demonstrates why access to

Morrison’s literature matters. The Bluest Eye allowed Wright’s niece, a 17-year

old senior attending a public high school in Indian River County, Florida, to reckon

with systemic abuses of race and gender, see Exhibit 1, Statement of Raquel

Wright (“Wright”) at ¶ 6—topics that are hard to face but important to

acknowledge if one is to have a full appreciation of our society. Wright’s niece


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described The Bluest Eye as “healing.” Id. ¶ 6. The novel showed her that

“through all the travesty there is light at the end of the tunnel.” Id. ¶ 6.

       The Hate U Give by Angie Thomas also had a positive effect on Wright’s

niece, teaching her about issues at the intersection of race and policing. Id. ¶ 7.

The Hate U Give has been targeted for removal by Moms for Liberty. Id. ¶ 7.10

As a result, future students may face barriers to accessing the type of knowledge

that Wright’s niece gained from The Hate U Give. Wright worries that the book

removals and restrictions will cause children to be taught a false narrative, leaving

them ill-equipped to navigate the realities of a diverse society. Id. ¶ 10.

       Vivian Green, a former elementary school principal, is similarly concerned

about the negative effects of the book removals and restrictions on her family’s

education. Exhibit 3, Statement of Vivian Green (“Green”) at ¶ 1. As Green’s

relative attends public school in Okaloosa County, she hopes that her relative will

be exposed to literature about Black identity and history, including works by James

Baldwin, Langston Hughes, John Ellison, and Toni Morrison. Id. ¶ 5. But Green

fears that Florida is “turning back the clock” to a time in the 1950s and 1960s,

when Florida public schools strictly limited access to books about race. Id. ¶ 2. In



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  After reading The Hate U Give, Wright’s niece was motivated to read the prequel
by Angie Thomas, Concrete Rose. Wright at ¶ 7. Concrete Rose is targeted for
removal and currently restricted at high school and middle school libraries in
Escambia County. See Am. Compl. at ¶¶ 159−60.

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particular, she is concerned that her relative will not be exposed to perspectives

that depict “what real life is like” for historically marginalized persons. Id. ¶¶ 5, 7.

To Green, this is a disservice to racially diverse students, as well as white students,

who are denied the chance to learn about the trials of lives not like their own. Id. ¶

7.

       Green is also concerned about the chilling effect on teachers caused by book

removals and restrictions. Citing a story about a teacher she knows who left the

profession after facing a parent-led backlash for teaching a race-related book,

Green is concerned that teachers will avoid teaching books disfavored by their

school system. Id. ¶ 7. Such a chilling effect would prevent teachers from

carrying out their “special task” of serving as “exemplars of open-mindedness and

free inquiry.” Wieman v. Updegraff, 344 U.S. 183, 196 (1952) (Frankfurter, J.,

concurring) (“[Teachers] cannot carry out their noble task if the conditions for the

practice of a responsible and critical mind are denied to them.”).

       Jennifer Cousins, the mother of four children in public schools in Orange

County, Florida, similarly worries about the impact of the book removals and

restrictions on her children’s abilities to learn freely. As discussed in greater detail

below, access to books about LGBTQ people, including Gender Queer by Maia

Kobabe and Drama by Raina Telgemeier, have provided “a path to self-discovery”

for Cousins’ children who identify as LGBTQ. Exhibit 2, Statement of Jennifer



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Cousins (“Cousins”) at ¶¶ 2, 4, 11. Gender Queer has been removed from Orange

County public schools, id. ¶ 3, and Defendant has removed Drama from elementary

school libraries in Escambia County. Am. Compl. ¶¶ 102, 105. Like Green, Cousins

is afraid that restricting access to books about LGBTQ identities will not only harm

LGBTQ students, but will deny all students the chance to learn about people with

identities that may differ from their own. Cousins at ¶ 12.

II.     BOOK REMOVALS AND RESTRICTIONS
        DISPROPORTIONATELY HARM BLACK AND LGBTQ
        STUDENTS AND THEIR FAMILIES.

        The equal protection clause “prohibit[s] states from discriminating against

individuals on the basis of race,” Burton v. City of Belle Glade, 178 F.3d 1175, 1190

(11th Cir. 1999), or sexual orientation, Obergefell v. Hodges, 576 U.S. 644, 672

(2015). The book removals and restrictions disproportionately affect books

addressing themes related to race, sexual orientation, and gender identity. As a

result, these actions disproportionally harm Black and LGBTQ students and their

families.

        The equal protection clause of the Fourteenth Amendment is “essentially a

direction that all persons similarly situated should be treated alike.” City of Cleburne

v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985). The equal protection clause

protects against not only state-imposed classifications, but also against “intentional

and arbitrary discrimination.” See Vill. of Willowbrook v. Olech, 528 U.S. 562, 564



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(2000) (per curiam) (quoting Sioux City Bridge Co. v. Dakota Cty., 260 U.S. 441,

445 (1923)).

      Access to books in which students can see themselves represented can have a

tremendously positive impact on those students. And limiting students’ access to

books with content on Black history, diversity, racism, and gender identity is

intentional and arbitrary discrimination that disproportionately harms Black and

LGBTQ students in violation of the Fourteenth Amendment. Moreover, in light of

the history of unequal treatment of these groups in the United States, the book

removals and restrictions cause disproportionate harm to students and their families

through intentional and arbitrary discrimination.

      For example, Cousins described the impact that reading Gender Queer by

Maia Kobabe had on her child who identifies as non-binary and uses

“she/they/them” pronouns. See Cousins at ¶ 2. The book provided a “deep sense of

relief that other people felt the same way as them and that they were not isolated in

their experience.” Id. In other words, the book allowed them to feel “seen” and

allowed them to better understand their own identity. Cousins’s third oldest child,

who identifies as gay, read and loved Drama by Raina Telgemeier. See Cousins at

¶ 4. Reading these books has allowed Cousins’ children who identify as LGBTQ to

have deeper and more open conversations about their identities. Id.




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      The families of Black and LGBTQ students also benefit from the students’

access to these types of books and are disproportionately harmed when access to

these books in school libraries is eliminated or restricted. Cousins describes her

family as very close and notes that access to books is essential for her children to

understand each other’s experience and have informed communication throughout

the family. See Cousins at ¶ 7. Cousins’ oldest child was thrilled when his younger

sibling read Gender Queer and was able to feel more at ease with themself. See

Cousins at ¶ 7.

      Depriving students of these types of books has larger effects than simply

prohibiting students from having these positive experiences. The act of removing

and restricting books in which Black or LGBTQ students can see themselves can

make those students feel like their identity is being attacked. See Cousins at ¶ 8.

Upon learning that Drama by Raina Telgemeier was removed from some libraries

across Florida, Cousins’ child, who identifies as non-binary, asked “why does the

State [of Florida] hate us so much?” Cousins at ¶ 4. Similarly, Wright’s niece, upon

learning that Moms for Liberty was targeting The Hate U Give for removal, stated,

“they just want to take everything from us.” See Wright at ¶ 7.

      Depriving students of books with characters who represent them can cause

students to feel inferior. Green stated that she believes the book removals and

restrictions convey that some students are “not important enough to be included in a



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book,” causing distress to students and families alike.          See Green at ¶ 6.

Remembering her own educational experience when she did not have access to

books about Black people, Green stated that she felt “devalued.” See Green at ¶ 2.

Drawing on her own experience with a school curriculum that did not have much

teaching about African American history, Wright stated that “it makes you feel like

you aren’t important enough to know who you are as a person.” See Wright at ¶ 2.

Wright’s niece has similarly felt unrepresented in her curriculum and felt as if she is

less than her counterparts. See Wright at ¶ 5.

      The equal protection clause of the Fourteenth Amendment protects against

discriminatory treatment on the basis of race and sexual orientation. As these stories

demonstrate, Defendant’s book removals and restrictions cause disproportionate

harm to Black and LGBTQ students and their families by intentionally and

arbitrarily limiting their access to books by or about Black or LGBTQ persons.

                                  CONCLUSION

      For these reasons, Defendant’s motion to dismiss Plaintiffs’ amended

complaint should be denied.




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                                  Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      On September 25, 2023, a true and correct copy of the foregoing was filed

with the Court’s electronic filing system, which will provide service to all parties for

whom counsel has entered an appearance.


                                        /s/ Robert C. Buschel
                                        Robert C. Buschel




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